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    About WHOIS

    WHOIS isn't an acronym, though it may look like one. In fact, it is the system that asks
    the question, who is responsible for a domain name or an IP address?




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             2. Domain Name Registrant Benefits and Responsibilities
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    1. What is WHOIS?
    Every year, millions of individuals, businesses, organizations and governments register domain names.
    Each one must provide identifying and contact information which may include: name, address, email,
    phone number, and administrative and technical contacts. This information is often referred to as
    "WHOIS data." But the WHOIS service is not a single, centrally-operated database. Instead, the data is
    managed by independent entities known as "registrars" and "registries." Any entity that wants to
    become a registrar must earn ICANN accreditation. Similarly, registries are under contract with ICANN
    to operate a generic top level domain, such as .COM, .ORG, or one of the new gTLDs such as
    .STORAGE and .LINK.

    Based on existing consensus policies and contracts, ICANN is committed to implementing measures
    to maintain timely, unrestricted and public access to accurate and complete WHOIS information,
    subject to applicable laws. To do that, registrars and registries provide public access to data on
    registered domain names. Anyone can use the WHOIS protocol to search their databases and identify
    the domain name registrant.

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    In 2016, new ICANN Bylaws replaced the WHOIS obligations originally established by the expired
    Affirmation of Commitments. These Bylaws require periodic reviews to assess the effectiveness of the
    current gTLD Registration Directory Service (RDS, formerly known as WHOIS) and whether its
    implementation meets the legitimate needs of law enforcement, promoting consumer trust and
    safeguarding registrant data. In addition, those Bylaws require ICANN organization to use commercially
    reasonable efforts to enforce its policies relating to RDS, while exploring structural changes to improve
    accuracy and access to generic top-level domain registration data, as well as considering safeguards
    for protecting such data.

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    2. Domain Name Registrant Bene ts and Responsibilities
    Domain name registrants play a key role in ensuring the accuracy of WHOIS. As a domain name
    registrant, you are required to provide accurate WHOIS contact data, and maintain its accuracy
    throughout the term of your registration period.

    When you register a domain name, you must give your registrar accurate and reliable contact details,
    and correct and update them promptly if there are any changes during the term of the registration
    period. This obligation is part of your registration agreement with the registrar.

    If you give wrong information on purpose, or don't update your information promptly if there is a change,
    your domain name registration may be suspended or even cancelled. This could also happen if you
    don't respond to inquiries by your registrar if they contact you about the accuracy of your contact
    information.

    On an annual basis, your registrar is required to send you an annual reminder of your obligation to
    maintain the accuracy of your WHOIS contact data. Please review the information provided by your
    registrar in this reminder carefully and make any necessary corrections. If you find that your WHOIS
    information is inaccurate, please refer to: About Correcting my WHOIS Data.

    Depending on the version of the Registrar Accreditation Agreement your registrar has contracted with
    ICANN organization, there are different rights, benefits or responsibilities that apply to you. For the
    version of the Registrar Accreditation Agreement applicable your registrar refer to:
    http://www.internic.net/alpha.html

             Learn more about the 2013 RAA - Registrant Benefits and Responsibilities as documented in the
             2013 Registrar Accreditation Agreement for maintaining accurate WHOIS data.
             Learn more about the 2009 RAA - Registrant Rights and Responsibilities as documented in the
             2009 Registrar Accreditation Agreement for maintaining accurate WHOIS data.

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    3. History of WHOIS
    WHOIS traces its roots to 1982, when the Internet Engineering Task Force published a protocol for a
    directory service for ARPANET users. Initially, the directory simply listed the contact information that
    was requested of anyone transmitting data across the ARPANET. As the Internet grew, WHOIS began
    to serve the needs of different stakeholders such as domain name registrants, law enforcement agents,

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    intellectual property and trademark owners, businesses and individual users. But the protocol remained
    fundamentally based on those original IETF standards. This is the WHOIS protocol that ICANN
    inherited when it was established in 1998.

    Learn more about the History of WHOIS.

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    4. What's on the Horizon?
    It's very likely that WHOIS will change dramatically in the future.

    The process of re-inventing WHOIS began in November 2012, when the ICANN Board approved a two-
    pronged strategy to embrace the Recommendations made by the first WHOIS Review Team (WHOIS
    RT) to improve the manner in which the WHOIS system at that time was being overseen by ICANN,
    and, at the same time, to redefine the purpose and scope of Registration Directory Services, in an
    attempt to envision a next-generation replacement system better suited for the needs of tomorrow's
    Internet.

    Learn more about What's on the Horizon to update and possibly replace the WHOIS system.

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    5. About this Site
    This site is part of a series of WHOIS improvements inspired by the recommendations of the first
    WHOIS Review Team. Learn more About This Site and how it contributes to efforts to improve WHOIS.

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    History of WHOIS

    WHOIS traces its roots to 1982, when the Internet Engineering Task Force published a
    protocol for a directory service for ARPANET users. Initially, the directory simply listed the
    contact information that was requested of anyone transmitting data across the ARPANET.

    As the Internet grew, WHOIS began to serve the needs of different stakeholders such as domain name
    registrants, law enforcement agents, intellectual property and trademark owners, businesses and
    individual users. But the protocol remained fundamentally based on those original IETF standards. This
    is the WHOIS protocol that ICANN organization inherited when it was established in 1998.

    On 30 September 2009, ICANN and the U.S. Department of Commerce signed an Affirmation of
    Commitments (AOC) which recognized ICANN as an independent, private and non-profit organization.
    With the transition to new ICANN Bylaws in 2016, the WHOIS obligations originally established by the
    expired AOC were replaced with new gTLD Registration Directory Service (RDS) obligations.

    Based on existing consensus policies and contracts, ICANN remains committed to "enforcing its
    existing policy relating to WHOIS, subject to applicable laws. Such existing policy requires that ICANN
    implement measures to maintain timely, unrestricted and public access to accurate and complete
    WHOIS information, including domain name registrant, technical, billing, and administrative contact
    information." In addition, specific provisions for periodic reviews of WHOIS policy continue under the
    new ICANN Bylaws.

    In 1999, ICANN began allowing other entities to offer domain name registration services. Registries
    are responsible for maintaining registries of top-level domain names.

    Over the years, ICANN has used its agreements with registrars and registries to modify the WHOIS
    service requirements. These agreements set up the basic framework that dictates how the WHOIS
    service is operated. In addition, ICANN has adopted and implemented several consensus policies
    aimed at improving the WHOIS service:

             WHOIS Data Reminder Policy (2003): at least once a year, registrars must email all domain
             name registrants and remind them to review and update their WHOIS data; for example, in case
             of a new cell phone number or changed business address.


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            The Restored Name Accuracy Policy (2004): If a domain name is deleted because it contained
            incorrect contact data, or there was no response to requests for information, the domain name
            must remain on hold until the domain name registrant provides updated and accurate WHOIS
            data.
            WHOIS Marketing Restriction Policy (2004): This policy creates two changes to the Registrar
            Accreditation Agreement to try to bar use of the WHOIS data for marketing and re-use.
            Registrars must require third parties to "to agree not to use the [WHOIS] data to allow, enable, or
            otherwise support any marketing activities," and "not to sell or redistribute the [WHOIS] data"
            (with some exceptions).

    In addition, ICANN continues to adopt new consensus policies to improve existing WHOIS services.
    Policies now undergoing implementation include:

             Thick RDDS (WHOIS) Transition Policy for .COM, .NET and .JOBS (2014): This policy
             addresses differences between "thin" and "thick" WHOIS registries, requiring transition of
             remaining "thin" registries to a "thick" data model.
             Additional WHOIS Information Policy (2014): This policy requires registrars and registries to
             include information in WHOIS output to help users better identify a domain name registration's
             sponsoring registrar and understand the domain name registration's status codes.
             Privacy and Proxy Services Accreditation Policy (2015): This policy addresses issues relating to
             accreditation of the privacy and proxy services used by some domain name registrants to keep
             certain information about them from being published in WHOIS.
             Translation and Transliteration of Contact Information Policy (2015): This policy is concerned with
             how internationalized registration data collected and displayed in registration data directory
             services to enable translation and/or transliteration of those data into other languages and/or
             scripts.
             Registry Registration Data Directory Services Consistent Labeling and Display Policy (updated
             2017): This policy requires consistency in the WHOIS output displayed by different registries.

    Finally, ICANN organization works with registries and registrars to review and update as appropriate
    procedures related to WHOIS policy implementation, such as:

             Review of Existing ICANN Procedure for Handling Whois Conflicts with Privacy Laws (2016), and
             the
             WHOIS Data Retention Specification Waiver (2013)

    WHOIS is at the center of long-running debate and study at ICANN, among other Internet governance
    institutions, and in the global Internet community. The evolution of the Internet ecosystem has created
    challenges for WHOIS in every area: accuracy, access, compliance, privacy, abuse and fraud, cost and
    policing. Questions have arisen about the fundamental design of WHOIS, which many believe is
    inadequate to meet the needs of today's Internet, much less the Internet of the future. Concerns about
    WHOIS obsolescence are equaled by concerns about the costs involved in changing or replacing
    WHOIS.

    WHOIS faces these challenges because its use has expanded beyond what was envisaged when its
    founding protocol was designed. Many more stakeholders make use of it in legitimate ways not
    foreseen by its creators. So ICANN has had to modify WHOIS over the years; the consensus policies
    on accuracy are a prime example, as well as the introduction of validation and verification requirements
    in the new form of Registrar Accreditation Agreement (2013 RAA).



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    There are other challenges to WHOIS, as well. As domain names have become an important weapon
    to combat fraud and abuse, ICANN's Security and Stability Advisory Committee recommended in SAC
    38: Registrar Abuse Point of Contact that registrars and registries publish abuse point of contact
    information. This abuse contact would be responsible for addressing and providing timely response to
    abuse complaints received from recognized parties, such as other registries, registrars, law
    enforcement organizations and recognized members of the anti-abuse community. In 2014, registrars
    under the 2013 RAA were required to publish WHOIS data that includes registrar abuse contacts.

    Even with these modifications, there are calls in the community for improvements to the current WHOIS
    model. ICANN's Generic Names Supporting Organization (GNSO) explores these areas and works to
    develop new policies to address each issue, as appropriate. Over the last decade, the GNSO has
    undertaken a series of activities to reevaluate the current WHOIS system, and has sought to collect
    data examining the importance of WHOIS to stakeholders. At the request of the Council, ICANN
    organization initiated a series of WHOIS studies:

    WHOIS Privacy and Proxy Services Abuse – This study examined the extent to which gTLD domain
    names used to conduct alleged illegal or harmful Internet activities are registered via Privacy or proxy
    services to obscure the perpetrator's identity. The National Physical Laboratory performed this study
    and delivered its results in March 2014.

    WHOIS Registrant Identification – This study used WHOIS data and content associated with domain
    names to classify entities that register gTLD domain names, including natural persons, legal persons,
    and Privacy and proxy service providers. Using associated Internet content; it then classified entities
    using those domain names and potentially commercial activities. NORC at the University of Chicago
    performed this study and delivered its results in May 2013.

    WHOIS Misuse [PDF, 1.2 MB] -- This study examined the extent to which public WHOIS data is
    misused to address harmful communications such a phishing or identity theft. The Carnegie Mellon
    University Cylab in Pittsburgh, PA, USA performed this study and delivered its results in December
    2013.

    WHOIS Privacy and Proxy Relay and Reveal [PDF, 1.23 MB] – This study assessed the feasibility of
    conducting an in-depth study into communication Relay and identity Reveal requests sent for gTLD
    domain names registered using proxy and privacy services. The Interisle Consulting Group in Boston,
    MA, USA performed this study and delivered its results in June 2012.

    WHOIS Service Requirements Survey [PDF, 633 KB] – This study surveyed community members to
    estimate the level of agreement on WHOIS service requirements. A GNSO Working Group was
    assembled to create a survey and delivered its results in July of 2010.

    Report on Domain Name WHOIS Terminology and Structure [PDF, 236 KB] – To clear up the confusion
    regarding the various meanings of WHOIS terminology, the SSAC conducted this study. The report,
    delivered in September 2011, recommended that ICANN transition to adopting new terminology to
    designate the different aspects of WHOIS. As a result, ICANN adopted new terminology to refer to
    aspects of the WHOIS system, including:

             Domain Name Registration Data – Refers to the information that domain name registrants
             provide when registering a domain name and that registrars or registries collect.
             Domain Name Registration Data Access Protocol – Refers to the elements of a
             communications exchange—queries and responses—that make access to registration data

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            possible. For example, the WHOIS protocol (RFC 3912) and Hypertext Transfer Protocol (HTTP)
            (RFC 2616 and its updates) are commonly used to provide public access.
            Domain Name Registration Data Directory Service – refers to the service offered by
            registries and registrars to provide access to the domain name registration data. This term is
            now often used interchangeably with Registration Directory Service (RDS).

    In 2013, a series of recommendations were made by the first WHOIS Review Team (WHOIS RT) to
    improve the manner in which the WHOIS system at that time was being overseen by ICANN
    organization. Those improvements included development of a new Accuracy Reporting System (ARS)
    to proactively identify inaccurate WHOIS records and forward them to registrars for follow-up, to
    increase data accuracy, and to create accuracy metrics.

    Also in 2013, ICANN formed an Expert Working Group (EWG) on gTLD Directory Services charged
    with finding ways to break the deadlock in the ICANN community over the usefulness and fate of the
    WHOIS system. In its Final Report (2014), the EWG recommended a paradigm shift to "a next-
    generation RDS that collects, validates and discloses gTLD registration data for permissible purposes
    only. While basic data would remain publicly available, the rest would be accessible only to accredited
    requestors who identify themselves, state their purpose, and agree to be held accountable for
    appropriate use." To learn more, see What's On The Horizon.

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